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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DAVID B. DOWNS & MARGARET A.  :
DOWNS, H/W                    :                       18-CV-4529
           Plaintiffs         :
                              :
    v.                        :
                              :
BOROUGH OF JENKINTOWN, ET AL. :
         Defendants           :
                              :

                                               ORDER

       AND NOW, this                  day of                     , 2020, upon review of Plaintiffs’

Motion For Reconsideration of the Court’s May 22, 2020 Order granting Summary Judgment to

Defendants, Borough of Jenkintown, Deborah Pancoe and Richard Bunker, and any Response

thereto, it is hereby ordered and decreed that Plaintiffs’ Motion for Reconsideration is

GRANTED.

       IT IS FURTHER ORDERED that the May 22, 2020 Order granting summary judgment

for Defendants, Borough of Jenkintown, Deborah Pancoe and Richard Bunker, is reversed and

vacated.




                                                     HONORABLE JAN E. DUBOIS
